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 Fill in this information to identify your case:

 Debtor 1                 Judith Marion Justus
                          First Name                        Middle Name               Last Name

 Debtor 2                 David L. Justus
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Chase Auto Finance                                    Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       2012 Mazda 3 115,000 miles                          Reaffirmation Agreement.
    property                                                                 Retain the property and [explain]:
    securing debt:                                                          Debtor will retain collateral and continue
                                                                           making payments


    Creditor's         Chase Home Mortgage                                   Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 905 Echo Bay Court Aberdeen                               Reaffirmation Agreement.
    property       Proving Ground, MD 21005-4000                             Retain the property and [explain]:
    securing debt: Harford County
                   value used on appraisal by
                   lender 08/24/2018 less closing
                   costs of 9-10% for real estate
                   commissions, transfer and
                   recordation taxes, and closing
                   cost credit of app



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 Debtor 1      Judith Marion Justus
 Debtor 2      David L. Justus                                                                        Case number (if known)



    Creditor's     Mr. Cooper                                               Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      37459 Oliver Drive Selbyville,                      Reaffirmation Agreement.
    property            DE 19975 Sussex County                              Retain the property and [explain]:
    securing debt:



    Creditor's     Tower Federal CU                                         Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2015 Kia Sportage 45,000 miles                      Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:                                                        Debtor will retain collateral and continue
                                                                         making payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Judith Marion Justus
 Debtor 2      David L. Justus                                                                       Case number (if known)



 X     /s/ Judith Marion Justus                                                     X /s/ David L. Justus
       Judith Marion Justus                                                            David L. Justus
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        October 19, 2018                                                 Date    October 19, 2018




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